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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

 UNITED STATES OF AMERICA,             §
                                       §
                       Plaintiff,      §
                                       §
 v.                                    §        CASE NO. 7:20-CV-290
                                       §
 0.549 ACRES OF LAND, MORE OR          §
 LESS, SITUATE IN STARR COUNTY,        §
 STATE OF TEXAS; AND SABINO            §
 ALVAREZ, JR., et al.                  §
                                       §
                      Defendants.      §
______________________________________________________________________________

                       COMPLAINT IN CONDEMNATION
______________________________________________________________________________


        1.      This is a civil action brought by the United States of America at the request of the

Secretary of the Department of Homeland Security, through the Acquisition Program Manager,

Wall Program Management Office, U.S. Border Patrol Program Management Office Directorate,

U.S. Border Patrol, U.S. Customs and Border Protection, Department of Homeland Security, for

the taking of property under the power of eminent domain through a Declaration of Taking, and

for the determination and award of just compensation to the owners and parties in interest.

        2.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1358.

        3.      The interest in property taken herein is under and in accordance with the authority

set forth in Schedule “A.”

        4.      The public purpose for which said interest in property is taken is set forth in

Schedule “B.”



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                                             Complaint
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       5.      The legal description and map or plat of land in which certain interests are being

acquired by the filing of this Complaint, pursuant to the Declaration of Taking, are set forth in

Schedules “C” and “D.”

       6.      The interest being acquired in the property described in Schedules “C” and “D” is

set forth in Schedule “E.”

       7.      The amount of just compensation estimated for the property interest being acquired

is set forth in Schedule “F.”

       8.      The names and addresses of known parties having or claiming an interest in said

acquired property are set forth in Schedule “G.”

       9.      Local and state taxing authorities may have or claim an interest in the property by

reason of taxes and assessments due and eligible.

       WHEREFORE, Plaintiff requests judgment that the interest described in Schedule “E” of

the property described in Schedules “C” and “D” be condemned, and that just compensation for

the taking of said interest be ascertained and awarded, and for such other relief as may be lawful

and proper.

                                                      Respectfully submitted,

                                                      RYAN K. PATRICK
                                                      United States Attorney
                                                      Southern District of Texas

                                              By:     s/ Roland D. Ramos____________
                                                      ROLAND D. RAMOS
                                                      Assistant United States Attorney
                                                      Southern District of Texas No. 3458120
                                                      Texas Bar No. 24096362
                                                      1701 W. Bus. Highway 83, Suite 600
                                                      McAllen, TX 78501
                                                      Telephone: (956) 618-8010
                                                      Facsimile: (956) 618-8016
                                                      E-mail: Roland.Ramos@usdoj.gov


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  SCHEDULE
     A
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                                      SCHEDULE A

                            AUTHORITY FOR THE TAKING


       The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved February 15, 2019, as Public Law 116-

6, div. A, tit. II, Section 230, 133 Stat. 13, which appropriated the funds that shall be used

for the taking.
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  SCHEDULE
      B
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                                     SCHEDULE B

                                   PUBLIC PURPOSE



       The public purpose for which said property is taken is to construct, install, operate,

and maintain roads, fencing, vehicle barriers, security lighting, cameras, sensors, and

related structures designed to help secure the United States/Mexico border within the State

of Texas.
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  SCHEDULE
     C
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                                      SCHEDULE C

                                 LEGAL DESCRIPTION

                                     Starr County, Texas

Tract: RGV-RGC-5046
Owner: Sabino Alvarez, Jr., et al.
Acres: 0.549

BEING a 0.549 acre tract (23,910 square feet) parcel of land, more or less, being out of a
called 3.261 acre tract, recorded in Document No. 1936-4878, Official Records of Starr
County (O.R.S.C.), Texas, conveyed to the known and unknown heirs of Vidala Garcia
Vda De Gonzalez and the known and unknown heirs of Ofilia Gonzalez, said tract being a
part of Share 18-A, Porcion 71, Ancient Jurisdiction of Camargo, Mexico, now Starr
County, Texas, said 0.549 acre tract (23,910 square feet) parcel of land being more
particularly described as follows;

COMMENCING: at a point having a coordinate value of N=16665491.822,
E=846906.128, said point being the northeast corner of said known and unknown heirs of
Vidala Garcia Vda De Gonzalez and known and unknown heirs of Ofilia Gonzalez tract,
the northeast corner of said Share 18-A, the northwest corner of a called 2.434 acre tract,
recorded in Document No’s. 2015-321587 and 2006-256655, Official Records of Starr
County (O.R.S.C.), Texas, conveyed to Mark A. Perez, the northwest corner of a called
1.738 acre tract, recorded in Document No. 1936-4878, Official Records of Starr County
(O.R.S.C.), Texas, conveyed to the known and unknown heirs of Donaciano Garcia and
the northwest corner of a called 1.696 acre tract, recorded in Document No. 1936-4878,
Official Records of Starr County (O.R.S.C.), Texas, conveyed to the known and unknown
heir of Refugio Muniz De Garcia and the northwest corner of Share 17-A, Porcion 71;

THENCE: S 17°55’47” W, along the east line of said known and unknown heirs of Vidala
Garcia Vda De Gonzalez and known and unknown heirs of Ofilia Gonzalez tract, the east
line of said Share 18-A, the west line of said Mark A. Perez, et al tract and the west line of
said Share 17-A, a distance of 80.05 feet to a set 5/8” rebar with a “B&F Engineering, Inc.”
aluminum cap stamped “RGV-RGC-5046-1=RGV-RGC-5047-1” for the POINT OF
BEGINNING, said point having a coordinate value of N=16665415.659, E=846881.485,
said point being the northeast corner of the herein described proposed acquisition tract,
said point also being S 62°26’30” E, a distance of 526.40 feet from United States Corps of
Engineers Control Point No. SS10-2019 (“B&F Engineering, Inc.” aluminum cap in
concrete);

THENCE: S 17°55’47” W, along the east line of said known and unknown heirs of Vidala
Garcia Vda De Gonzalez and known and unknown heirs of Ofilia Gonzalez tract, the east
line of said Share 18-A, the west line of said Mark A. Perez, et al tract and the west line of
said Share 17-A, a distance of 200.92 feet to a set 5/8” rebar with a “B&F
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                                SCHEDULE C (continued)

                                  LEGAL DESCRIPTION

                                     Starr County, Texas

Engineering, Inc.” aluminum cap stamped “RGV-RGC-5046-2=RGV-RGC-5047-4” for
the southeast corner of the herein described proposed acquisition tract;

THENCE: N 66°34’32” W, departing the east line of said known and unknown heirs of
Vidala Garcia Vda De Gonzalez and known and unknown heirs of Ofilia Gonzalez tract,
the east line of said Share 18-A, the west line of said Mark A. Perez, et al tract and the west
line of said Share 17-A, over and across said known and unknown heirs of Vidala Garcia
Vda De Gonzalez and known and unknown heirs of Ofilia Gonzalez tract and said Share
18-A, a distance of 119.55 feet to a set 5/8” rebar with a “B&F Engineering, Inc.”
aluminum cap stamped “RGV-RGC-5045-3=RGV-RGC-5046-3” for the southwest corner
of the herein described proposed acquisition tract, said point being on the west line of said
known and unknown heirs of Vidala Garcia Vda De Gonzalez and known and unknown
heirs of Ofilia Gonzalez tract, the west line of said Share 18-A, the east line of a called
1.354 acre tract, recorded in Document No’s. 1969-74119 and 1936-4878, Official
Records of Starr County (O.R.S.C.), Texas, conveyed to the unknown heirs of Sabino
Alvarez and the known and unknown heirs of Guadalupe Gonzalez and the east line of
Share 19-A, Porcion 71;

THENCE: N 17°55’47” E, along the west line of said known and unknown heirs of Vidala
Garcia Vda De Gonzalez and known and unknown heirs of Ofilia Gonzalez tract, the west
line of said Share 18-A, the east line of said unknown heirs of Sabino Alvarez, et al tract
and the east line of said Share 19-A, a distance of 200.92 feet to a set 5/8” rebar with a
“B&F Engineering, Inc.” aluminum cap stamped “RGV-RGC-5045-2=RGV-RGC-5046-
4” for the northwest corner of the herein described proposed acquisition tract;

THENCE: S 66°34’32” E, departing the west line of said known and unknown heirs of
Vidala Garcia Vda De Gonzalez and known and unknown heirs of Ofilia Gonzalez tract,
the west line of said Share 18-A, the east line of said unknown heirs of Sabino Alvarez, et
al tract and the east line of said Share 19-A, over and across said known and unknown heirs
of Vidala Garcia Vda De Gonzalez and known and unknown heirs of Ofilia Gonzalez tract
and said Share 18-A, a distance of 119.55 feet to the POINT OF BEGINNING and
containing 0.549 acres (23,910 square feet) parcel of land, more or less.
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  SCHEDULE
      D
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                            SCHEDULE D

                             MAP or PLAT

                      LAND TO BE CONDEMNED
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                       SCHEDULE D (continued)

                             MAP or PLAT

                       LAND TO BE CONDEMNED
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                       SCHEDULE D (continued)

                             MAP or PLAT

                       LAND TO BE CONDEMNED
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    SCHEDULE
        E
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                                       SCHEDULE E

                                     ESTATE TAKEN

                                     Starr County, Texas

Tract: RGV-RGC-5046
Owner: Sabino Alvarez, Jr., et al.
Acres: 0.549


       The estate taken is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads, and pipelines; and subject to all interests in minerals
and appurtenant rights for exploration, development, production and removal of said
minerals;
       Reserving to the owners of land described in conveyance recorded on March 4,
1936, in Volume 88, Page 361, Document No. 1936-4878, Official Records of Starr
County, Texas, reasonable access to and from the owners’ lands lying between the Rio
Grande River and the border barrier through opening(s) or gate(s) in the border barrier
between the westernmost mark labeled “Beginning” and easternmost mark labeled
“Ending” depicted on the map below;
        Excepting and excluding all interests in water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from such water rights
or systems are subordinated to the United States’ construction, operation, and
maintenance of the border barrier.
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                        SCHEDULE E (continued)

                            ESTATE TAKEN
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    SCHEDULE
        F
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                                   SCHEDULE F

                      ESTIMATE OF JUST COMPENSATION



    The sum estimated as just compensation for the land being taken is EIGHT

THOUSAND TWO HUNDRED SIXTEEN DOLLARS AND NO/100 ($8,216.00), to be

deposited herewith in the Registry of the Court for the use and benefit of the persons

entitled thereto.
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     SCHEDULE
        G
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                                     SCHEDULE G

                                INTERESTED PARTIES

The following table identifies all persons who have or claim an interest in the property
condemned and whose names are now known, indicating the nature of each person’s
property interest(s) as indicated by references in the public records and any other
information available to the United States. See Fed. R. Civ. P. 71.1(c).

 Interested Party                             Reference
 Sabino Alvarez, Jr.                          Est. of Ofilia Gonzalez
                                              VIA
 Rio Grande City, Texas 78582                 Final Decree of Partition
                                              Document # 1936-4878
                                              Recorded March 4, 1936
                                              Deed Records of Starr County, Texas
 Manuel Alvarez                               Est. of Ofilia Gonzalez
                                              VIA
 Rio Grande City, Texas 78582                 Final Decree of Partition
                                              Document # 1936-4878
                                              Recorded March 4, 1936
                                              Deed Records of Starr County, Texas
 Maria Guadalupe Morales Perez                Est. of Ofilia Gonzalez
                                              VIA
 Rio Grande City, Texas 78582                 Final Decree of Partition
                                              Document # 1936-4878
                                              Recorded March 4, 1936
                                              Deed Records of Starr County, Texas
 Armandina Alvarez Longoria                   Est. of Ofilia Gonzalez
                                              VIA
 McAllen, Texas 78501                         Final Decree of Partition
                                              Document # 1936-4878
                                              Recorded March 4, 1936
                                              Deed Records of Starr County, Texas
 Marta Alvarez Gaines aka Martha              Est. of Ofilia Gonzalez
 Alvarez Gaines                               VIA
                                              Final Decree of Partition
 Rio Grande City, Texas 78582                 Document # 1936-4878
                                              Recorded March 4, 1936
                                              Deed Records of Starr County, Texas
 Eloisa Alvarez Perez                         Est. of Ofilia Gonzalez
                                              VIA
 Houston, Texas 77012                         Final Decree of Partition
                                              Document # 1936-4878
                                              Recorded March 4, 1936
                                              Deed Records of Starr County, Texas
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Magda Margot Alvarez                  Est. of Raul Ruben Alvarez
                                      VIA
Rio Grande City, TX 78582             Est. of Ofilia Gonzalez
                                      VIA
                                      Final Decree of Partition
                                      Document # 1936-4878
                                      Recorded March 4, 1936
                                      Deed Records of Starr County, Texas
Graciela Alvarez                      Est. of Raul Ruben Alvarez
                                      VIA
Rio Grande City, TX 78582             Est. of Ofilia Gonzalez
                                      VIA
                                      Final Decree of Partition
                                      Document # 1936-4878
                                      Recorded March 4, 1936
                                      Deed Records of Starr County, Texas
Raul Alvarez, Jr.                     Est. of Raul Ruben Alvarez
                                      VIA
Rio Grande City, TX 78582             Est. of Ofilia Gonzalez
                                      VIA
                                      Final Decree of Partition
                                      Document # 1936-4878
                                      Recorded March 4, 1936
                                      Deed Records of Starr County, Texas
Gerardo Alvarez                       Est. of Raul Ruben Alvarez
                                      VIA
Mission, TX 78574                     Est. of Ofilia Gonzalez
                                      VIA
                                      Final Decree of Partition
                                      Document # 1936-4878
                                      Recorded March 4, 1936
                                      Deed Records of Starr County, Texas
Maria Alvarez Guerra                  Est. of Raul Ruben Alvarez
                                      VIA
Rio Grande City, TX 78582             Est. of Ofilia Gonzalez
                                      VIA
                                      Final Decree of Partition
                                      Document # 1936-4878
                                      Recorded March 4, 1936
                                      Deed Records of Starr County, Texas
Ameida Salinas
Starr County Tax Assessor-Collector   Tax Authority
100 N FM 3167, Room 201
Rio Grande City, Texas 78582
                           Case 7:20-cv-00290 Document 1-2 Filed on 09/24/20 in TXSD Page 1 of 1
JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
United States of America                                                                                    0.549 Acres of Land More of Less, Situate in Starr County, State of
                                                                                                            Texas; and Sabino Alvarez, Jr. et al.,
    (b) County of Residence of First Listed Plaintiff                                                        County of Residence of First Listed Defendant Starr
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Roland D. Ramos, US Attorney's Office, SDTX
1701 W. Bus. Hwy 83 Suite 600
McAllen, TX 78501

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
u 1    U.S. Government                u 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         u 1       u 1       Incorporated or Principal Place       u 4     u 4
                                                                                                                                                         of Business In This State

u 2    U.S. Government                u 4     Diversity                                              Citizen of Another State          u 2    u    2   Incorporated and Principal Place    u 5     u 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           u 3    u    3   Foreign Nation                      u 6     u 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
u   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              u 625 Drug Related Seizure          u 422 Appeal 28 USC 158          u 375 False Claims Act
u   120 Marine                       u   310 Airplane                 u 365 Personal Injury -              of Property 21 USC 881        u 423 Withdrawal                 u 376 Qui Tam (31 USC
u   130 Miller Act                   u   315 Airplane Product               Product Liability        u 690 Other                               28 USC 157                       3729(a))
u   140 Negotiable Instrument                 Liability               u 367 Health Care/                                                                                  u 400 State Reapportionment
u   150 Recovery of Overpayment      u   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                u 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              u 820 Copyrights                 u 430 Banks and Banking
u   151 Medicare Act                 u   330 Federal Employers’             Product Liability                                            u 830 Patent                     u 450 Commerce
u   152 Recovery of Defaulted                 Liability               u 368 Asbestos Personal                                            u 835 Patent - Abbreviated       u 460 Deportation
        Student Loans                u   340 Marine                         Injury Product                                                     New Drug Application       u 470 Racketeer Influenced and
        (Excludes Veterans)          u   345 Marine Product                 Liability                                                    u 840 Trademark                        Corrupt Organizations
u   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                u 480 Consumer Credit
        of Veteran’s Benefits        u   350 Motor Vehicle            u 370 Other Fraud              u 710 Fair Labor Standards          u 861 HIA (1395ff)               u 490 Cable/Sat TV
u   160 Stockholders’ Suits          u   355 Motor Vehicle            u 371 Truth in Lending                Act                          u 862 Black Lung (923)           u 850 Securities/Commodities/
u   190 Other Contract                       Product Liability        u 380 Other Personal           u 720 Labor/Management              u 863 DIWC/DIWW (405(g))               Exchange
u   195 Contract Product Liability   u   360 Other Personal                 Property Damage                 Relations                    u 864 SSID Title XVI             u 890 Other Statutory Actions
u   196 Franchise                            Injury                   u 385 Property Damage          u 740 Railway Labor Act             u 865 RSI (405(g))               u 891 Agricultural Acts
                                     u   362 Personal Injury -              Product Liability        u 751 Family and Medical                                             u 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     u 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            u 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
u   210 Land Condemnation            u   440 Other Civil Rights         Habeas Corpus:               u 791 Employee Retirement           u 870 Taxes (U.S. Plaintiff      u 896 Arbitration
u   220 Foreclosure                  u   441 Voting                   u 463 Alien Detainee                 Income Security Act                  or Defendant)             u 899 Administrative Procedure
u   230 Rent Lease & Ejectment       u   442 Employment               u 510 Motions to Vacate                                            u 871 IRS—Third Party                  Act/Review or Appeal of
u   240 Torts to Land                u   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
u   245 Tort Product Liability               Accommodations           u 530 General                                                                                       u 950 Constitutionality of
u   290 All Other Real Property      u   445 Amer. w/Disabilities -   u 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       u 462 Naturalization Application
                                     u   446 Amer. w/Disabilities -   u 540 Mandamus & Other         u 465 Other Immigration
                                             Other                    u 550 Civil Rights                   Actions
                                     u   448 Education                u 555 Prison Condition
                                                                      u 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original             u 2 Removed from                 u 3         Remanded from             u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                  u 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           40 U.S.C. 3113 and 3114
VI. CAUSE OF ACTION Brief description of cause:
                                           Land condemnation proceeding for fee simple interest to construct, install, operate, and maintain border security.
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         u Yes      u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
           09-24-2020                                                             /s/ Roland D. Ramos
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
